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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                     (at Covington)

  TIMOTHY GREGG,                                  )
                                                  )
             Plaintiff,                           )         Civil Action No. 2:24-cv-134-DCR
                                                  )
  V.                                              )
                                                  )
  ST. ELIZABETH                                   )               SCHEDULING ORDER
  MEDICAL CENTER, INC.,                           )
                                                  )
          Defendant.                              )

                                     ***   ***        ***   ***

       Being sufficiently advised, it is hereby

       ORDERED that the following schedule is adopted for resolution of this matter:

       (1)       Within 14 days, the parties are directed to exchange information required by

Rule 26(a)(1) which has not been previously exchanged. These disclosures need not be filed

in the record.

       (2)       By June 2, 2025, the plaintiff is directed to disclose the identity of expert

witnesses who may be used at trial and written reports by the expert witnesses as required by

Rule 26(a)(2).

       By June 2, 2025, the defendant is directed to disclose the identity of expert witnesses

who may be used at trial and written reports by the experts as required by Rule 26(a)(2).

       If the evidence is intended solely to contradict or rebut evidence on the same subject

matter identified by another party under Federal Rule of Civil Procedure 26(a)(2)(B), the party

shall disclose such experts and written reports within thirty (30) days after the disclosure made

by the other party.
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       (3)    Supplementation under Rule 26(e) is due within thirty (30) days of the discovery

of new information, but by no later than thirty (30) days prior to the close of discovery. All

testing or examination relied upon by any expert witness shall be completed and disclosed by

the date of the expert’s deposition.         Additionally, at the time expert reports and

supplementation of the report are exchanged, at least two proposed dates for the deposition of

each expert witness within the following thirty (30) days shall be provided.

       (4)    By July 30, 2025, the parties are directed to complete all discovery (with

discovery requests served in a manner calculated for responses compliant with this deadline).

       (5)    Pursuant to 28 U.S.C. § 636(b)(1)(A), all discovery disputes are referred to the

United States Magistrate Judge pursuant to standing orders of the Court. Discovery disputes

shall be resolved in the following manner: (1) parties shall first meet and/or confer in an

attempt to resolve disputes between themselves, without judicial intervention; (2) if the parties

are unable to resolve such disputes informally, they shall attempt to resolve their disagreement

by telephone conference with the United States Magistrate Judge; (3) if, and only if, the parties

are unable to resolve their disputes after conference with the United States Magistrate Judge,

they may file appropriate written motions with the Court. Any written motion regarding

discovery shall include the certification required by Rule 37(a)(1), if applicable.

       (6)    All motions for extensions of time are referred to the undersigned for

disposition. The parties are advised in advance that such motions are not favored and must

be accompanied by a memorandum and affidavit of counsel outlining sufficient grounds for

granting the relief sought.

       (7)    The parties may not, by agreement, extend any of the deadlines set forth in this

Scheduling Order. Likewise, the parties may not, by agreement, extend any deadline for
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responding to motions as required by Local Rule 7.1(c). Extensions regarding these matters

require approval of the Court.

        (8)     The parties must file any motions to amend pleadings and/or to join additional

parties on or before March 7, 2025.

        (9)    By August 25, 2025, the parties must file all dispositive motions and Daubert

motions. Subject to the limitations outlined in paragraph (7) above, briefing shall be governed

by the local rules for civil practice.

        (10)   By December 9, 2025, counsel must file, submit to the Court’s chambers, and

provide to opposing counsel, the following:

               (a)     pursuant to Rule 26(a)(3)(A)(i), a witness list with a brief summary of

the expected testimony of each witness; pursuant to Rule 26(a)(3)(A)(ii), the witness list shall

include the designation of those witnesses whose testimony is expected to be presented by

deposition with reference to the pages and the questions to be presented; and, if the deposition

was not taken stenographically, a transcript of the pertinent portions of the deposition

testimony shall be attached to the witness list;

               (b)     pursuant to Rule 26(a)(3)(A)(iii), a list of exhibits intended to be used at

trial; and

               (c)     a pretrial memorandum containing a succinct statement of the facts of

the case, the questions of fact, the questions of law, expected evidentiary objections, and a

listing of all pending motions. The pretrial memorandum shall also indicate the progress of

the case and status of settlement negotiations; the likelihood of settlement; and the feasibility

of alternative dispute resolution.



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         (11)   By December 16, 2025, counsel must pre-mark and number all exhibits in

accordance with Rule 83.10 of the Joint Local Rules for the United States District Courts for

the Eastern and Western Districts of Kentucky, and provide to opposing counsel, copies of all

such exhibits and of all demonstrative aids intended to be used at trial.

         (12)   By December 23, 2025, counsel must file with the Clerk and shall submit to the

Court, Agreed Proposed Jury Instructions with supporting authorities. If the parties cannot

agree on certain instructions, counsel shall file with the Clerk, submit to the Court, and provide

to opposing counsel, their separately proposed instructions with supporting authorities. Failure

to submit proposed jury instructions within the time provided may result in cancelation of the

trial.

         (13)   By December 30, 2025, counsel must file with the Clerk, submit to the Court,

and provide to opposing counsel, any objections to the use of depositions or to the admissibility

of exhibits pursuant to Rule 26(a)(3)(B). Objections not then disclosed, other than objections

based on Federal Rules of Evidence 402 and 403, shall be deemed waived unless excused by

the Court for good cause shown.

         (14)   The above listed pretrial filings may be submitted to the undersigned at

reeves_chambers@kyed.uscourts.gov.        This e-mail address is not intended for ex parte

conversations or communications with the Court, either by parties or counsel. Likewise, the

parties may not make arguments regarding their respective positions in connection with

materials submitted to this e-mail address.

         (15)   By December 30, 2025, the parties must submit to the Court’s chambers a copy

of each exhibit.



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       (16)    This action is assigned for a jury trial, on Tuesday, January 13, 2026,

beginning at 9:00 a.m., at the United States Courthouse in Covington, Kentucky, with counsel

to be present at 8:30 a.m. The estimated length of trial is six days.

       (17)    The parties may request a pretrial conference if desired following resolution of

any dispositive motions. If dispositive motions are not filed, a pretrial conference may be

requested no later than 60 days prior to trial.

       (18)    The parties are directed to file a joint status report the first Monday of each

month. Separate or individual status reports are not permitted. The status reports shall

summarize the activities in the case for the preceding thirty (30) days. Status reports should

include activities in the case, as opposed to merely summarizing items appearing on the docket

sheet. Failure to timely comply with these requirements shall result in the matter being set

for a status conference, requiring the attendance of counsel and the parties.

       (19)    The parties are directed to use the services of a private mediator in the event

they seek to mediate their dispute.

       Dated: November 8, 2024.




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